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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF KENTUCKY
                                 Pikeville Division


    In re:

          Justin Todd Trout,                       Case No. 18-70695
                                                   Chapter 7
              Debtor.


    Paul A. Randolph,
    Acting United States Trustee,

          Plaintiff,

    v.                                             Adv. Proc. No. 19-______

    Justin Todd Trout,

          Defendant.


                         Complaint Objecting to Discharge
                                 (11 U.S.C. § 727)

         Paul A. Randolph, Acting United States Trustee, represents and alleges

   as follows:

         1.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§

   157 and 1334. This adversary proceeding relates to the bankruptcy case of

   Justin Todd Trout, Case No. 18-70695, pending before this Court.

         2.   Venue is proper pursuant to 28 U.S.C. § 1409.
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      3.    This matter is a core proceeding. 28 U.S.C. § 157(b)(2)(J). The

   Plaintiff consents to entry of a final order or judgment by the bankruptcy

   court.

      4.    Plaintiff Paul A. Randolph is the duly appointed Acting United

   States Trustee for Region 8, which includes the Eastern District of Kentucky.

   The United States Trustee has standing to prosecute this matter. 11 U.S.C.

   §§ 307, 727(c)(1).

      5.    Defendant Justin Todd Trout is the Debtor in the above-captioned

   case.

      6.    This Complaint is timely filed.

   Case Background

      7.    Justin Todd Trout filed for relief under chapter 7 of the United States

   Bankruptcy Code on November 13, 2018 in the United States Bankruptcy

   Court for the Eastern District of Kentucky.

      8.    Also on November 13, 2018, Justin Todd Trout filed his Schedules

   and Statement of Financial Affairs under penalty of perjury.

      9.    Eastern Air Flow L.L.C (“Eastern Air Flow”), a company owned by

   Justin Todd Trout, filed for relief under chapter 7 of the United States

   Bankruptcy Code on September 21, 2018 in the United States Bankruptcy

   Court for the Eastern District of Kentucky.




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      10. Also on September 21, 2018, Eastern Air Flow filed its Schedules and

   Statement of Financial Affairs under penalty of perjury.

      11. On October 23, 2018, Justin Todd Trout, as Eastern Air Flow’s

   designated representative, testified under oath at the First Meeting of

   Creditors held pursuant to 11 U.S.C. § 341.

      12. On December 14, 2018, Justin Todd Trout testified under oath at his

   First Meeting of Creditors held pursuant to 11 U.S.C. § 341.

      13. On May 10, 2019, Taylor Trout, Justin Todd Trout’s spouse, testified

   under oath at an examination authorized by this Court pursuant to Fed. R.

   Bankr. P. 2004.

      14. On June 18, 2019, Justin Todd Trout testified under oath at an

   examination authorized by this Court pursuant to Fed. R. Bankr. P. 2004.

          I.    Justin Todd Trout’s Operation of Eastern Air Flow L.L.C.

      15. In calendar year 2013, Justin Todd Trout obtained his Master HVAC

   license.

      16. Justin Todd Trout continues to maintain an active Master HVAC

   license.

      17. In the State of Kentucky, a Kentucky Master HVAC license is

   required to own and operate a company that engages in HVAC work.




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      18. On October 9, 2013, Justin Todd Trout filed Articles of Organization

   with the Secretary of State for the Commonwealth of Kentucky starting a

   company named Eastern Air Flow L.L.C (“Eastern Air Flow”).

      19. Justin Trout listed Eastern Air Flow’s principal address as 5721 KY

   Route 404 in David, Kentucky with the Secretary of State. Upon information

   and belief, this address is Justin Trout’s home address.

      20. On April 23, 2018, Justin Todd Trout changed the principal office of

   Eastern Air Flow to 3757 South Highway 23 in Prestonsburg, Kentucky.

   Upon information and belief, this is the physical address of one of Eastern

   Air Flow’s business locations.

      21. From approximately October of 2013 to August of 2018, Eastern Air

   Flow installed HVAC, solar panel, electric generator, and other similar

   services in the Eastern District of Kentucky.

      22. According to Justin Todd Trout, Eastern Air Flow closed primarily

   due to uncollectible accounts receivables.

          II.    Justin Todd Trout’s Inability to Explain Eastern Air Flow
                 L.L.C.’s $1.4 Million in Negative Equity

      23. As noted within Justin Todd Trout’s bankruptcy petition, his

   liabilities are approximately $1.4 million larger than his assets. The

   overwhelming majority of Justin Todd Trout’s debts relate to personal

   guarantees of the debts of his company, Eastern Air Flow.




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                a.     Eastern Air Flow’s Tax Returns Show a Profitable
                       Company

      24. Based on Justin Todd Trout’s 2015 federal income tax return, in

   calendar year 2015 Eastern Air Flow had $1,151,052 in gross sales, $665,957

   in cost of goods sold, and $470,664 in other expenses, leaving profits of

   $14,431.

      25. During calendar year 2015, Justin Todd Trout claimed to have total

   personal wages of $31,290.

      26. Based on Justin Todd Trout’s 2016 federal income tax return, in

   calendar year 2016 Eastern Air Flow had $2,361,220 in gross sales (including

   $600 in returns and allowances), $1,379,475 in cost of goods sold, and

   $981,681 in other expenses, leaving profits of $64.

      27. During calendar year 2016, Justin Todd Trout claimed to have total

   personal wages of $36,806.

      28. Based on Justin Todd Trout’s 2017 federal income tax return, in

   calendar year 2017 Easter Air Flow had $1,744,855 in gross sales, $818,633

   in cost of goods sold, $921,903 in other expenses, leaving profits of $4,319.

      29. During calendar year 2017, Justin Todd Trout claimed to have total

   personal wages of $37,064.

      30. As of the filing of this complaint, Justin Todd Trout and Eastern Air

   Flow have not provided the United States Trustee with their 2018 federal

   income tax returns.



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      31. In total, based on Eastern Air Flow’s 2015–2017 federal income tax

   returns, Eastern Air Flow had combined profits of $18,814 from January 1,

   2015 to December 31, 2017.

                b.     Easter Air Flow’s Financial Statements Show a Profitable
                       Company

      32. Based on 2016 Eastern Air Flow profit and loss statements, Eastern

   Air Flow had $2,282,678 in total income and $2,180,511 in total expenses,

   leaving $102,167 in net income.

      33. Based on 2017 Eastern Air Flow profit and loss statements, Eastern

   Air Flow had $1,670,496 in total income and $1,690,998 in total expenses,

   leaving $20,502 as a net loss.

      34. Based on 2018 Eastern Air Flow profit and loss statements, Eastern

   Air Flow had $1,123,365 in total income and $768,601 in total expenses,

   leaving $354,764 in net income.

      35. In total, based on Eastern Air Flow’s profit and loss statements from

   2016–2018, Eastern Air Flow had combined profits of $477,433 from January

   1, 2016 to December 31, 2018.

                c.     Other Unexplained Factors

      36. Even while Eastern Air Flow was a profitable company, it failed to

   pay many of its debts as they became due.

      37. According to Justin Todd Trout’s bankruptcy petition, Eastern Air

   Flow failed to remit approximately $125,000 in various employee withholding



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   taxes to the Internal Revenue Service. Eastern Air Flow withheld the

   appropriate taxes from its employee’s paychecks, but failed to remit those

   amounts to the IRS.

      38. According to Justin Todd Trout’s bankruptcy petition, Eastern Air

   Flow failed to remit approximately $30,000 in various employee withholding

   taxes to the Kentucky Department of Revenue. Eastern Air Flow withheld

   the appropriate taxes from its employee’s paychecks, but failed to remit those

   amounts to the State of Kentucky.

      39. Eastern Air Flow also received approximately $750,000 in HVAC and

   related equipment from Brock McVey, but failed to pay for the equipment.

      40. Based on sixty-nine job cost reports provided by Justin Todd Trout to

   the United States Trustee, after subtracting the cost of materials, direct

   employee salaries, and commission expenses from the price quoted to the

   customer, the HVAC installation jobs entered into by Eastern Air Flow had

   an average gross margin of approximately 41%.

      41. Justin Todd Trout has failed, and will fail, to explain how Eastern

   Air Flow’s expenses (other than materials, supplies, commissions, and direct

   labor costs already included within the gross margin calculation) exceeded

   Eastern Air Flow’s 41% gross profit percentage.




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      42. Justin Todd Trout and Eastern Air Flow have failed, and will fail, to

   demonstrate how a profitable company owes over $1.4 million to various

   creditors.

                d.    Eastern Air Flow’s Unexplained Cash Withdrawals and
                      Cash Transfers

      43. On or around March of 2018, Eastern Air Flow started paying the

   vast majority of its suppliers, expenses, and employee salaries in cash, a

   distinct change from paying most of its expenses by credit card or check in

   the previous months.

      44. For example, based on limited bank statements provided by Justin

   Todd Trout to the United States Trustee, in May of 2018 approximately

   $123,300 of cash withdrawals were made on Easter Air Flow’s bank accounts.

      45. Similarly, based on limited bank statements provided by Justin Todd

   Trout to the United States Trustee, in June of 2018 approximately $106,300

   of cash withdrawals were made on Easter Air Flow’s bank accounts.

      46. At his Rule 2004 Examination, when asked why Eastern Air Flow

   started paying the overwhelming majority of its expenses in cash, Justin

   Todd Trout stated that he “[doesn’t] have a reason.”

      47. Based on limited bank statements provided by Justin Todd Trout or

   Eastern Air Flow to the United States Trustee, Justin Todd Trout made

   numerous transfers to unknown bank accounts.




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      48. For example, in September 2016, Justin Todd Trout made $80,500 in

   transfers to a bank account that, upon information and belief, is also

   controlled by Justin Todd Trout

      49. Similarly, in November 2016, Justin Todd Trout made $32,500 in

   transfers to a bank account that, upon information and belief, is also

   controlled by Justin Todd Trout.

      50. Upon information and belief, similar large transfers occurred in later

   months, but adequate bank statements have not been provided to the United

   States Trustee.

      51. Justin Todd Trout has failed, and will fail, to adequately explain the

   uses of the above-described cash withdrawals and cash transfers.

      52. Upon information and belief, significant portions of cash withdrawals

   and cash transfers described above were improperly diverted by Justin Todd

   Trout out of Eastern Air Flow for Justin Todd Trout’s personal benefit, and

   such transfers were not disclosed within Eastern Air Flow or Justin Todd

   Trout’s bankruptcy petitions.

                III.    Justin Todd Trout’s Undisclosed Ownership or Transfer of
                        Eastern Air Flow L.L.C. to his Spouse

      53. According to Justin Todd Trout and through a review of Eastern Air

   Flow’s bank statements, Eastern Air Flow’s recorded sales began to decline

   around July or August of 2018.




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      54. Shortly thereafter, on August 9, 2018, Taylor Trout allegedly filed

   Articles of Organization with the Secretary of State for the Commonwealth of

   Kentucky creating Eastern Air Flow of Kentucky LLC (“Eastern Air Flow of

   KY”).

      55. Upon information and belief, Eastern Air Flow of KY began installing

   various HVAC systems and other equipment in October of 2018.

      56. According to Taylor Trout, between Eastern Air Flow of KY’s opening

   in August of 2018, and the start of installations in October of 2018, various

   customers paid Eastern Air Flow of KY in advance for HVAC systems to be

   installed at a later date.

      57. Upon information and belief, the payments described in the

   immediately preceding paragraph were Eastern Air Flow of KY collecting

   Eastern Air Flow’s accounts receivables.

      58. The street address for Eastern Air Flow of KY was listed as 3757

   South Highway 23 in Prestonsburg, KY.

      59. On April 23, 2018, less than four months before the creation of

   Eastern Air Flow of KY, Justin Todd Trout changed the principal office of

   Eastern Air Flow to 3757 South Highway 23 in Prestonsburg, Kentucky.

      60. Eastern Air Flow of KY operates out of at least two of the same

   physical location as Eastern Air Flow, one in Richmond, Kentucky and

   another in Prestonsburg, Kentucky.




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      61. Eastern Air Flow and Eastern Air Flow of KY have the exact same

   logo, with the only difference being “of Kentucky” in a small font added to the

   Eastern Air Flow of KY logo.

      62. Eastern Air Flow of KY uses the same Facebook page as Eastern Air

   Flow, and used pictures of Justin Todd Trout, work completed by Eastern Air

   Flow, and pictures of Eastern Air Flow’s offices well after Eastern Air Flow of

   KY allegedly began operations.

      63. Eastern Air Flow of KY uses the same website as Eastern Air Flow,

   with only very minimal changes.

      64. Eastern Air Flow of KY’s website listed Justin Todd Trout as the

   owner, included pictures of Justin Todd Trout, and directs the potential

   customer to Justin Todd Trout’s Master HVAC license.

      65. Eastern Air Flow of KY employs essentially all of the employees

   previously employed by Eastern Air Flow.

      66. Eastern Air Flow of KY uses many of the exact same vehicles as

   Eastern Air Flow to conduct its business, as the following business vehicles

   were transferred by Eastern Air Flow or Justin Todd Trout to Taylor Trout or

   Eastern Air Flow of KY:

            a. 2003 Chevrolet Avalanche transferred from Justin Todd Trout

                to Taylor Trout on or around July 27, 2018 for no consideration;




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             b. 2006 Ford Econoline van transferred from Eastern Air Flow to

                 Taylor Trout on or around April 25, 2018 for no consideration;

             c. 2007 Ford F-150 truck transferred from Justin Todd Trout to

                 Taylor Trout on or around April 25, 2018 for no consideration;

             d. 2008 GMC Silverado transferred from Justin Todd Trout to

                 Taylor Trout on or around April 25, 2018 for no consideration;

             e. 1998 Ford E142 van transferred from Justin Todd Trout to

                 Taylor Trout on or around April 25, 2018 for no consideration;

                 and a

             f. 1996 Chevrolet Astro Van transferred from Justin Todd Trout to

                 Taylor Trout on or around April 25, 2018 for no consideration.

      67. According to Taylor Trout, the transfer of the vehicles listed in the

   immediately preceding paragraph were a wedding present from Justin Todd

   Trout to herself.

      68. As of Eastern Air Flow and Justin Todd Trout’s respective

   bankruptcy filings, the vehicles listed above were the debtors’ most valuable

   unencumbered assets.

      69. Upon information and belief, each of the vehicles listed in paragraph

   66 was used for business purposes, both by Eastern Air Flow and Eastern Air

   Flow of KY.




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      70. Before allegedly owning and operating Eastern Air Flow of KY,

   Taylor Trout worked as a cashier at Kroger, in child care at Harvest

   Christian Child Care, and was a sophomore studying psychology at Eastern

   Kentucky University.

      71. Taylor Trout was never an employee of Eastern Air Flow.

      72. Before allegedly owning and operating Eastern Air Flow of KY,

   Taylor Trout did not have any experience in the HVAC industry or in

   business ownership.

      73. Eastern Air Flow of KY operates under Justin Todd Trout’s master

   HVAC license.

      74. Justin Todd Trout handles any official customer complaints against

   Eastern Air Flow of KY, and also handles various inspections required by the

   State of Kentucky for Eastern Air Flow of KY.

      75. When a permit is required to complete various HVAC work, Justin

   Todd Trout’s master HVAC licensed is used by Eastern Air Flow of KY.

      76. Various permits obtained after Eastern Air Flow of KY was allegedly

   formed, and after Eastern Air Flow was allegedly closed, list Eastern Air

   Flow as the company obtaining the new HVAC permit and use Justin Todd

   Trout’s master HVAC license.




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      77. All official customer complaint forms filed with the Kentucky

   Department of Housing, Buildings, and Construction against Easter Air Flow

   of Kentucky list Justin Trout as the company’s owner.

      78. Upon information and belief, Justin Todd Trout engages in

   significant additional work for Eastern Air Flow of KY.

      79. Eastern Air Flow of KY is a sham company, and is a continuation of

   Eastern Air Flow, making Justin Todd Trout the owner of the company

   referred to as Eastern Air Flow of KY.

      80. In the alternative, Justin Todd Trout transferred Eastern Air Flow to

   Taylor Trout for no consideration while he was insolvent.

          IV.   Justin Todd Trout’s False Statements within his Bankruptcy
                Papers and at his § 341 Meeting of Creditors

      81. Justin Todd Trout made at least the following false statements

   within his personal bankruptcy papers:

            a. Failing to disclose his ownership of Eastern Air Flow of KY and

                Eastern Air Flow’s true value on Schedule A/B.

            b. On line 4.12 of schedule E/F, in response to a business debt with

                Ferguson Enterprises, Justin Todd Trout stated that “no assets

                were transferred [from Eastern Air Flow] to or used by [Eastern

                Air Flow of KY].”

            c. On Schedule I, the Debtor lists his monthly gross income at $0.




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           d. On Schedule I, the Debtor lists Taylor Trout’s monthly gross

              income at $3,000.

           e. In response to question 4 of the Statement of Financial Affairs

              (“SOFA”), the Debtor claims that his total income was $0 in

              2018, $37,064 in 2017 and $36,806 in 2016.

           f. In response to question 5 of the SOFA, the Debtor claims that he

              received an additional $2,000 from Eastern Air Flow in 2018,

              $4,319 in 2016, and $64 in 2016.

           g. In response to question 13 of the SOFA, which asks if “[w]ithin 2

              years before you filed for bankruptcy, did you give any gifts with

              a total value of more than $600 to any person,” to which Justin

              Todd Trout answered “No.”

           h. In response to question 18 of the SOFA, which asks if “[w]ithin 2

              years before you filed for bankruptcy. Did you sell, trade, or

              otherwise transfer any property to anyone, other than property

              transferred in the ordinary course of your business or financial

              affairs,” to which Justin Todd Trout made various disclosures.

              In regards to Taylor Trout, Justin Todd Trout listed the transfer

              of two vehicles, a 2002 Chevrolet Avalanche and a 2007

              Chevrolet 1500 truck. Justin Todd Trout failed to disclose his




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                transfer of at least six additional vehicles to Taylor Trout for no

                consideration.

      82. On June 7, 2019, after the United States Trustee conducted an

   examination of Taylor Trout, Justin Todd Trout filed an amended Statement

   of Financial Affairs (ECF No. 49), which added various information regarding

   vehicles transferred from Justin Todd Trout or Eastern Air Flow to Taylor

   Trout, but still contained at least one false statements:

             a. Changing SOFA question 18 from the transfer of a 2007

                Chevrolet 1500 to a 2008 GMC Silverado, and listing the

                vehicle’s value at $500. Shortly after the transfer, the vehicle

                was involved in an automobile accident and the insurance

                company paid Taylor Trout $6,000 for the vehicle.

      83. Justin Todd Trout, as the designated representative of Eastern Air

   Flow, made at least the following false statements within Eastern Air Flow’s

   bankruptcy petition:

             a. Failing to disclose Eastern Air Flow’s ownership of Eastern Air

                Flow of KY on Schedule A/B

             b. On Schedule E/F, in response to Eastern Air Flow’s debt with

                Ferguson Enterprises, Justin Todd Trout stated that the debt

                revolves around a “collection action filing in September 2018

                alleging fraudulent transfers to Eastern Air Flow of Kentucky,




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              LLC, recently incorporated and owned by Taylor M. Trout,

              however, no assets were transferred to or used by it.”

           c. On the Statement of Financial Affairs (“SOFA”) question 4,

              Eastern Air Flow stated that it made no payments or transfers

              of property to insiders within one year of the petition date.

           d. On SOFA question 11, Eastern Air Flow claims to have paid

              Bunch & Brock, PSC $3,500 in attorney’s fees, when Eastern Air

              Flow of KY actually paid the fees in the amount listed.

           e. Eastern Air Flow listed only one payment to Best Choice Supply

              in response to SOFA question 13, which asks the debtor to “[l]ist

              any transfers of money or other property by sale, trade, or any

              other means . . . within 2 years before the filing of this case to

              another person, other than property transferred in the ordinary

              course of business.”

           f. In response to SOFA question 18, which asked about closed

              financial accounts, Eastern Air Flow only listed accounts with

              Community Trust Bank and Citizens Bank.

           g. In response to SOFA question 30, which asks the debtor to list

              any “value in any form, including salary, other compensation,

              draws, bonuses, loans, credit on loans, stock redemptions, and

              options exercised” to an insider, Eastern Air Flow only listed




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                regular employee wages and $2,000 to Justin Todd Trout in

                2017 and $2,000 to Justin Todd Trout in 2018.

      84. Justin Todd Trout, as the president and designated representative of

   Eastern Air Flow, made at least the following false oaths at Eastern Air

   Flow’s § 341 Meeting:

            a. testifying that the petition was true and correct, outside of

                minor amendments;

            b. testifying that Eastern Air Flow only owns three vehicles: 2014

                Ford F-150; 2013 Ford Transit Van; and 2014 Dodge Ram

                Promaster;

            c. The chapter 7 trustee asked Justin Todd Trout if “Anything

                [was] transferred from [Eastern Air Flow] to another company,”

                in which Justin Todd Trout answered “No.”

            d. The chapter 7 trustee asked Justin Todd Trout if he “has

                another company that is operating now,” to which Justin Todd

                Trout answered “No.”

            e. Testifying that no parties owe Eastern Air Flow any money,

                outside of that listed within the bankruptcy petition.

            f. A creditor asked Justin Todd Trout if he is working for Eastern

                Airflow of KY, to which he answered “No” and that he is “not

                collecting any payment from [Taylor Trout].”




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              g. In response to a question from the United States Trustee, Justin

                 Todd Trout testified that Eastern Air Flow filed for bankruptcy

                 primarily due to the failure of customers to pay amounts owed.

              h. Testifying that his salary from Eastern Air Flow was $2,000 per

                 year.

         V.      Justin Todd Trout Committed the Above Actions with
                 Fraudulent Intent

      85. Justin Todd Trout committed the actions described within this

   complaint with fraudulent intent, as evidenced by the existence of essentially

   every badge of fraud, including:

              a. Justin Todd Trout transferred significant property to an insider;

              b. Justin Todd Trout concealed the transfers to the insider;

              c. Before Justin Todd Trout’s concealed these transfers, he had

                 been sued by numerous parties;

              d. Justin Todd Trout transferred substantially all of his valuable

                 assets to the insider;

              e. Justin Todd Trout removed and concealed assets from both his

                 and Eastern Air Flow’s bankruptcy estates;

              f. Justin Todd Trout transferred essentially all of his assets to an

                 insider for no consideration;

              g. Justin Todd Trout was insolvent at the time of the transfers to

                 the insider; and



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            h. Justin Todd Trout’s transfers occurred shortly before the filing

                of both his own, and Eastern Air Flow’s, bankruptcy cases.

   Count 1: False Oaths—bankruptcy filing (11 U.S.C. § 727(a)(4))

      86. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.

      87. Justin Todd Trout made the following false oaths in his Schedules:

            a. Failing to disclose his ownership of Eastern Air Flow of KY and

                Eastern Air Flow’s true value on Schedule A/B

            b. On line 4.12 of schedule E/F, in response to a business debt with

                Ferguson Enterprises, Justin Todd Trout stated that “no assets

                were transferred [from Eastern Air Flow] to or used by [Eastern

                Air Flow of KY].”

            c. On Schedule I, the Debtor lists his monthly gross income at $0.

            d. On Schedule I, the Debtor lists Taylor Trout’s monthly gross

                income at $3,000.

            e. In response to question 4 of the Statement of Financial Affairs

                (“SOFA”), the Debtor claims that his total income was $0 in

                2018, $37,064 in 2017 and $36,806 in 2016.

            f. In response to question 5 of the SOFA, the Debtor claims that he

                received $2,000 from Eastern Air Flow in 2018, $4,319 in 2016,

                and $64 in 2016.




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            g. In response to question 13 of the SOFA, which asks if “[w]ithin 2

                years before you filed for bankruptcy, did you give any gifts with

                a total value of more than $600 to any person,” to which Justin

                Todd Trout answered “No.”

            h. In response to question 18 of the SOFA, which asks if “[w]ithin 2

                years before you filed for bankruptcy. Did you sell, trade, or

                otherwise transfer any property to anyone, other than property

                transferred in the ordinary course of your business or financial

                affairs,” to which Justin Todd Trout made various disclosures.

                In regards to Taylor Trout, Justin Todd Trout listed the transfer

                of two vehicles, a 2002 Chevrolet Avalanche and a 2007

                Chevrolet 1500 truck. Justin Todd Trout failed to disclose his

                transfer of at least six additional vehicles to Taylor Trout for no

                consideration.

      88. Any of the above false oaths, standing alone, are material.

      89. Justin Todd Trout made the foregoing statements knowingly and

   fraudulently, or with a reckless disregard for the truth, in his bankruptcy

   case.

   Count 2: Concealment (11 U.S.C. § 727(a)(2)(A))

      90. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.




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      91. By failing to list his interest in Eastern Air Flow of KY, Justin Todd

   Trout concealed this interest.

      92. By failing to disclose significant salaries, cash withdrawals, payment

   of personal expenses, and other related benefits from Eastern Air Flow to

   Justin Todd Trout or another inside, Justin Todd Trout concealed these

   interests.

      93. Justin Todd Trout concealed these interests within one year before

   his bankruptcy filing with the intent to hinder, delay, or defraud creditors or

   the trustee.

   Count 3: False Oaths—testimony (11 U.S.C. § 727(a)(4))

      94. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.

      95. Upon information and belief, at his § 341 Meeting of Creditors,

   Justin Todd Trout testified that the personal injury vehicle accident claim

   listed within his petition has low value. In actuality, the personal injury

   claim is likely a very valuable asset.

      96. Justin Todd Trout falsely testified under oath at his Rule 2004

   examination as follows:

                a. Stating that as of the date of the Rule 2004 Examination, his

                   petition was true and correct after any amendments that were

                   filed.




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           b. Stating that Eastern Air Flow filed for bankruptcy primarily

              due to its inability to collect accounts receivables.

           c. Stating that all of the income received from HVAC and other

              related work was deposited into business bank accounts, and not

              other accounts controlled by an insider or kept as cash for the

              benefit of an insider.

           d. When asked “what is your current employment,” Justin Todd

              Trout replied that he is “not employed.”

           e. Stating that he does not do any HVAC installations for Eastern

              Air Flow of KY.

           f. When asked about assets transferred from Eastern Air Flow or

              himself personally to Eastern Air Flow of KY or Taylor Trout,

              Justin Todd Trout stated that nothing was transferred except

              for that listed in his bankruptcy petition.

           g. Stating that a 2008 GMC Silverado transferred from Justin

              Todd Trout to Taylor Trout had a $500 value at the time of the

              transfer.

           h. Stating that no accounts receivable were transferred from

              Eastern Air Flow to Eastern Air Flow of KY.




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            i. Stating that he does not know why Eastern Air Flow’s federal

                income tax returns for 2015–2017 show cumulative profits, but

                the company owes in excess of $1,000,000 to creditors.

            j. Stating that the vehicle transfers from Justin Todd Trout or

                Eastern Air Flow to Taylor Trout were a wedding present.

            k. Stating that Justin Todd Trout took no actions to transfer the

                Eastern Air Flow Facebook account to Taylor Trout.

            l. Stating that Justin Todd Trout has never held himself out as the

                owner of Eastern Air Flow of KY.

      97. Any of the false oaths described above, standing alone, are material.

      98. Justin Todd Trout made the foregoing statements knowingly and

   fraudulently, or with a reckless disregard for the truth, in his bankruptcy

   case.

   Count 4: Transfers (11 U.S.C. § 727(a)(2)(A))

      99. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.

      100. Justin Todd Trout concealed the alleged transfer of Eastern Air Flow

   to his spouse, Taylor Trout.

      101. Justin Todd Trout concealed the transfer of the following vehicles to

   Taylor Trout:




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              a. 2003 Chevrolet Avalanche transferred from Justin Todd Trout

                  to Taylor Trout on or around July 27, 2018 for no consideration;

              b. 2006 Ford Econoline van transferred from Eastern Air Flow to

                  Taylor Trout on or around April 25, 2018 for no consideration;

              c. 2007 Ford F-150 truck transferred from Justin Todd Trout to

                  Taylor Trout on or around April 25, 2018 for no consideration;

              d. 2008 GMC Silverado transferred from Justin Todd Trout to

                  Taylor Trout on or around April 25, 2018 for no consideration;

              e. 1998 Ford E142 van transferred from Justin Todd Trout to

                  Taylor Trout on or around April 25, 2018 for no consideration;

                  and a

              f. 1996 Chevrolet Astro Van transferred from Justin Todd Trout to

                  Taylor Trout on or around April 25, 2018 for no consideration.

      102. Said transfers occurred within one year before Justin Todd Trout’s

   bankruptcy filing with the intent to hinder, delay, or defraud creditors.

      Count 5: Failure to Explain (11 U.S.C. § 727(a)(5))

      103. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.

      104. Upon information and belief, Justin Todd Trout has failed and will

   fail to explain satisfactorily the loss or deficiency of assets to meet his

   liabilities.




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   Count 6: Failure to Maintain Records (11 U.S.C. § 727(a)(3))

      105. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.

      106. Upon information and belief, Justin Todd Trout has concealed,

   destroyed, mutilated, falsified, or failed to keep or preserve recorded

   information from which his financial condition or business transactions might

   be ascertained.

      107. Said failure is not justified under the circumstances of this case.

   Count 7: Concealment In Connection with Another Case (11 U.S.C. §
   727(a)(7))

      108. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.

      109. Justin Todd Trout, in connection with Eastern Air Flow’s bankruptcy

   case, failed to list either his own or Eastern Air Flow’s ownership of Eastern

   Air Flow of KY.

      110. Justin Todd Trout, in connection with Eastern Air Flow’s bankruptcy

   case, failed to disclose significant salaries, cash withdrawals, payment of

   personal expenses, and other related benefits Eastern Air Flow paid to Justin

   Todd Trout or other insiders, and therefore concealed these interests.

      111. Justin Todd Trout concealed these interests on or within one year

   before the date of the filing of the petition, or during the case, in connection

   with another case.



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   Count 8: Transfers In Connection with Another Case (11 U.S.C. §
   727(a)(7))

      112. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.

      113. Justin Todd Trout, in connection with Eastern Air Flow’s bankruptcy

   case, concealed the alleged transfer of Eastern Air Flow to his spouse, Taylor

   Trout.

      114. Justin Todd Trout, in connection with Eastern Air Flow’s bankruptcy

   case, concealed the transfer of the following vehicles to Taylor Trout:

             a. 2003 Chevrolet Avalanche transferred from Justin Todd Trout

                to Taylor Trout on or around July 27, 2018 for no consideration;

             b. 2006 Ford Econoline van transferred from Eastern Air Flow to

                Taylor Trout on or around April 25, 2018 for no consideration;

             c. 2007 Ford F-150 truck transferred from Justin Todd Trout to

                Taylor Trout on or around April 25, 2018 for no consideration;

             d. 2008 GMC Silverado transferred from Justin Todd Trout to

                Taylor Trout on or around April 25, 2018 for no consideration;

             e. 1998 Ford E142 van transferred from Justin Todd Trout to

                Taylor Trout on or around April 25, 2018 for no consideration;

             f. 1996 Chevrolet Astro Van transferred from Justin Todd Trout to

                Taylor Trout on or around April 25, 2018 for no consideration.




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      115. Justin Todd Trout concealed these transfers on or within one year

   before the date of the filing of the petition, or during the case, in connection

   with another case.

   Count 9: Failure to Maintain Records In Connection With Another
   Case (11 U.S.C. § 727(a)(7))

      116. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.

      117. Upon information and belief, Justin Todd Trout, in connection with

   Eastern Air Flow’s bankruptcy case, has concealed, destroyed, mutilated,

   falsified, or failed to keep or preserve recorded information from which his or

   Eastern Air Flow’s financial condition or business transactions might be

   ascertained.

      118. Justin Todd Trout concealed, destroyed, mutilated, falsified or failed

   to keep or preserve recorded information on or within one year before the

   date of the filing of the petition, or during the case, in connection with

   another case.

   Count 10: False Oaths – Bankruptcy Filing In Connection With
   Another Case (11 U.S.C. § 727(a)(7))

      119. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.

      120. Justin Todd Trout, in connection with Eastern Air Flow’s bankruptcy

   case, made the following false oaths in Eastern Air Flow’s schedules:




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           a. Failing to disclose Eastern Air Flow’s ownership of Eastern Air

              Flow of KY on Schedule A/B.

           b. On Schedule E/F, in response to Eastern Air Flow’s debt with

              Ferguson Enterprises, Justin Todd Trout stated that the debt

              revolves around a “collection action filing in September 2018

              alleging fraudulent transfers to Eastern Air Flow of Kentucky,

              LLC, recently incorporated and owned by Taylor M. Trout,

              however, no assets were transferred to or used by it.”

           c. On the Statement of Financial Affairs (“SOFA”) question 4,

              Eastern Air Flow stated that it made no payments or transfers

              of property to insiders within one year of the petition date.

           d. On SOFA question 11, Eastern Air Flow claims to have paid

              Bunch & Brock, PSC $3,500 in attorney’s fees, when the amount

              was paid by Eastern Air Flow of KY.

           e. Eastern Air Flow listed only one payment to Best Choice Supply

              in response to SOFA question 13, which asks the debtor to “[l]ist

              any transfers of money or other property by sale, trade, or any

              other means . . . within 2 years before the filing of this case to

              another person, other than property transferred in the ordinary

              course of business.”




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             f. In response to SOFA question 18, which asked about closed

                financial accounts, Eastern Air Flow only listed accounts with

                Community Trust Bank and Citizens Bank.

             g. In response to SOFA question 30, which asks the debtor to list

                any “value in any form, including salary, other compensation,

                draws, bonuses, loans, credit on loans, stock redemptions, and

                options exercised” to an insider, Eastern Air Flow only listed

                regular employee wages and $2,000 to Justin Todd Trout in

                2017 and $2,000 to Justin Todd Trout in 2018.

      121. Any of the above false statements, standing alone, are material.

      122. Justin Todd Trout, in connection with Eastern Air Flow’s bankruptcy

   case, made the foregoing statements knowingly and fraudulently, or with a

   reckless disregard for the truth, in Eastern Air Flow’s bankruptcy case.

      123. Justin Todd Trout made the foregoing false statements on or within

   one year before the date of the filing of the petition, or during the case, in

   connection with another case.

   Count 11: False Oaths – Testimony In Connection With Another Case
   (11 U.S.C. § 727(a)(7))

      124. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.




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      125. Justin Todd Trout, in connection with Eastern Air Flow’s bankruptcy

   case, made the following false oaths during Eastern Air Flow’s meeting of

   creditors:

                a. Stating that Eastern Air Flow’s petition was true and correct,

                   outside of minor amendments;

                b. Claiming that Eastern Air Flow only owns three vehicles: 2014

                   Ford F-150; 2013 Ford Transit Van; and 2014 Dodge Ram

                   Promaster;

                c. The chapter 7 trustee asked Justin Todd Trout if “Anything

                   transferred from [Eastern Air Flow] to another company,” in

                   which Justin Todd Trout answered “No.”

                d. The chapter 7 trustee asked Justin Todd Trout if he “has

                   another company that is operating now,” to which Justin Todd

                   Trout answered “No.”

                e. Claiming that no parties owe Eastern Air Flow any money,

                   outside of that listed within the bankruptcy petition.

                f. A creditor asked Justin Todd Trout if he is working for Eastern

                   Airflow of KY, to which he answered “No” and that he is “not

                   collecting any payment from [Taylor Trout].”




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              g. In response to a question from the United States Trustee, Justin

                  Todd Trout claimed that Eastern Air Flow filed for bankruptcy

                  primarily due to the failure of customers to pay amounts owed.

              h. Claiming that his salary from Eastern Air Flow was $2,000 per

                  year.

      126. Any of the false oaths described above, standing alone, are material.

      127. Justin Todd Trout, in connection with Eastern Air Flow’s bankruptcy

   case, made the foregoing statements knowingly and fraudulently, or with a

   reckless disregard for the truth.

      128. Justin Todd Trout made the foregoing false oaths on or within one

   year before the date of the filing of the petition, or during the case, in

   connection with another case.

   Count 12: Failure to Explain In Connection With Another Case (11
   U.S.C. § 727(a)(7))

      129. Plaintiff incorporates the allegations in paragraphs 1 through 85 by

   reference.

      130. Upon information and belief, Justin Todd Trout, in connection with

   Eastern Air Flow’s bankruptcy case, has failed and will fail to explain

   satisfactorily the loss or deficiency of Eastern Air Flow’s assets to meet its

   liabilities.

      131. Justin Todd Trout has failed and will fail to satisfactorily the loss or

   deficiency of Eastern Air Flow’s assets to meet its liabilities on or within one



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   year before the date of the filing of the petition, or during the case, in

   connection with another

                                         * * *

      WHEREFORE, the United States Trustee respectfully requests that

   judgment be entered against Justin Todd Trout denying his discharge.

   Dated: August 8, 2019                           Paul A. Randolph
                                                   Acting United States Trustee

                                                   By:/s/ Bradley M. Nerderman
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